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CHARLES Z. WEINGARTEN, M.D.
August 19, 2022

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NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

TIMOTHY C. MOORE, M39367,
Plaintiff,

VS. No. 19-cv-3892
WALTER NICKOLSON, NATHAN
SHEPHERD, CYNTHIA HARRIS,
ANNA McBEE, SUSAN LYDAY,
DR. CHRISTIAN OKE4IE,

DR. MARLENE HEN4AER, LATANYA
WILLIAMS, DAWN CETTA, LIDIA
LEWANDOWSKA, and WEXFORD
HEALTH SOURCES, INC.,

EXHIBIT
N

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Defendants.

The supplemental discovery
deposition of CHARLES 4. WEINGARTEN, M.D.,
appearing remotely from Northbrook, Illinois,
taken in the above-entitled cause, before Tracy L.
Abbott, Certified Shorthand Reporter, on the 19th
day of August, 2022, at the hour of 9:00 a.m.,

pursuant to notice, via 4oom videoconference.

REPORTED BY:

Tracy L. Abbott, CSR

License No. 084-003182

APPEARING REMOTELY FROM WINNEBAGO COUNTY, ILLINOIS

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CHARLES 4. WEINGARTEN, M.D.
August 19, 2022
Page 2 Page 4
1 REMOTE APPEARANCES: 1 (Witness sworn remotely.)
2
3 BARTLIT BECK LLP 2 CHARLES 2. WEINGARTEN, M.D.,
BY: MR. LUKE BEASLEY 3 called as a witness herein, having been first duly
4 54 West Hubbard Street 4 sworn, was examined and testified as follows:
Chicago, Illinois 60654
5 (312) 494-4453 5 EXAMINATION
Luke. beasley@bartlitbeck.com 6 BY MR. EMMERT:
6 Juliana.thewis@bartlitbeck.com 7 Q Can you state your name and spell it
7 On behalf of the Plaintiff; .
8 8 for the record, Doctor?
HEYL, ROYSTER, VOELKER & ALLEN, P.C. 9 A. Charles Weingarten, W-e-i-n-g-a-r-
9 BY: MR. JORDAN EMMERT 10 ten
and MR. MICHAEL J. ORSI .
10 120 West State Street, 2nd Floor 1l MR. EMMERT: Let the record reflect
Rockford, Illinois 61105-1268 12 that this is the supplemental deposition of Dr.
1 jemmert@heylroyster.com . .
. 13 Charles Weingarten taken pursuant to notice and by
morsi@heylroyster.com
12 (815) 963-4454 14 agreement. of the parties, It's subject to the
13 On behalf of Br. Christian Okezie, | 45 Federal Rules of Evidence and Federal Rules of
Dr. Marlene Henze, La Tanya .
14 Williams, Dawn Cetta, Tidia 16 Civil Procedure where they apply.
Lewandoska, and Wexford Health 1? BY MR. EMMERT:
. Sources, Defendants. 18 0. Good morning, Doctor,
7 19 A. Good morning.
18 20 Q. To begin with, Doctor, I'm going Lo
19
30 21 just go ahead and share my screen with you here.
21 22 And let me know, can you see what's on my screen
22 23 there?
23
24 24 A. I can.
Page 3 Page 5
1 INDEX 1 Q. And do you have a copy of your
2 WITNESS PAGE 2 supplemental report in front of you?
3 CHARLES Z. WEINGARTEN, M.D. 3 A. Ido.
4 Examination by Mr, Emmert 4 4 Q. Okay. Feel free to go ahead and look
5 5 at that while I'm asking you some questions about
6 6 it today. I will just move my screen around here.
7 7 All right. Doctor, this supplemental report that
8 8 I'm showing you, and for the record, I'm going to
3 9 go ahead and mark this as Exhibit 1 to today's
10 EXHIBITS 10 deposition.
ll NUMBER DESCRIPTIONS MARKED FOR ID il (Weingarten Deposition Exhibit
12 1 Supplemental report 5 12 No. 1 was marked for
13 13 identification.)
1é 14 BY MR. EMMERT;
1s 15 Q. Doctor, it's a three-page report,
16 16 correct?
V7 17 A. It's a cover page and two-page report,
18 18 well, yeah.
19 19 Q. And who wrote this report, Doctor?
20 20 A. I did.
21 21 Q. You did?
22 22 A. I did.
23 23 Q. Okay. And is it an accurate and
24 24 complete representation of your opinions that you

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CHARLES 4. WEINGARTEN, M.D.
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1 hold in this case? 1 all of the opinions that you have about Dr. Kern's
2 A. Yes. 2 testimony and the medical records identified as
3 Q. Okay. And just from reading the 3 HRVA 1345 through 1432?
4 report, it appears that you reviewed Dr. Robert 4 A. Yes.
5 Kern's deposition in preparation for preparing 5 Q. Okay. Doctor, I want to ask you a
6 your report, and it also appears that you reviewed | 6 couple of questions here about your opinions in
7 some medical records from the University of 7 this report, And, again, feel free to look at the
8 Illinois-Chicago which we have Bates stamped in 8 one in front of you, but I have it up on the
9 this case HRVA 1345 through 1432; is that correct? | 9 screen for you, as well as everybody else. You
10 I'm sorry, I may have missed your response, Is 19 mention here in Section 2 of your report, it's
11 that right? ll titled response to Dr. Kern, that -- let's see,
12 A. Yes, that's correct. 12 second paragraph here, “While respecting Dr.
13 Q. And did you also review the exhibits 13 Kern's opinions, I think the issue of," quote
14 from Dr, Kern's deposition? 14 "'possible malingering,'" end quote, “was
15 A. Which exhibits? 15 addressed by the audiologist Nichole Suss, as well
16 Q. Any or all of them. 16 as Dr. Weinreich." Do you see that?
17 A. Huh? 17 A. I do.
18 Q. Any or all of them. 18 Q. What do you mean by you think the issue
19 A. I think the pertinent ones I did, yes. 19 of possible malingering was addressed by those two
20 Q. Okay. Do you remember what those were? | 20 people? What do you mean by putting that in your
21 A. No, I do not. 21 report?
22 Q. Okay. Now, did you base your report 22 A. Just what I said. If you read the
23 based upon the information that you learned in 23 pages, they have comments that further testing is
24 reviewing the deposition of Dr. Kern, as well as 24 recommended, They express their opinion,
Page 7 Page 9
1 the medical records ERVA 1345 through 1432? 1 Q. Okay. And then you go on to say that
2 A. I based my opinions on what I read in 2 the Stenger test which is designed to detect
3 his deposition and the information you referenced, | 3 malingering was inconclusive. So you're putting
4 yes. 4 forward in this report that the Stenger test was,
5 Q. Okay. Do you know Dr. Kern? 3 in fact, inconclusive, is that correct?
6 A. I do, good man. 6 A. According to the records, yes.
7 Q. How do you know him? 7 Q. And by inconclusive, that means the
8 A. Professionally, he was chairman of the 8 test can't show one way or the other whether or
9 department at Feinberg when I was active there, 9 not Mr. Moore was malingering, is that right?
10 and I have seen him occasionally traveling or at 10 A. That is what the audiologist stated,
11 meetings. 11 yes.
12 Q. He was chairman of the department -- 12 QO. Now, with respect to these two tests
13 are you talking about Northwestern University? 13 that you talk about that Mr. Moore underwent, the
14 A. Yes, he is now chairman, yes. 14 OBE and acoustic reflex --
15 Q. And you were at one time at 15 A, Excuse me, one second. I'm going to
16 Northwestern University? 16 close the door here.
17 A. Iwas there for 50 years on the 17 Q. Sure.
18 faculty. I'm retired now. 18 A. Sorry.
19 Q. Okay. So he was department chair at 19 Q. Wo, you're fine. All right. These two
20 some -- during some period of time when you were 20 tests that Mr. Moore underwent at UIC in July of
21 at Northwestern, as well? 21 2021, the OAE and the acoustic reflex tests, both
22 A. That's correct. 22 of those are objective tests, is that correct?
23 0. Now, this supplemental report that you 23 A. They are objective tests, yes. They
24 have in front of you, Doctor, does that contain 24 depend on patient cooperation, but they are

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CHARLES 4. WEINGARTEN, M.D.
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1 objective. 1 measure of auditory thresholds per se?
2 Q. Now, when you say they're dependent 2 A. The measure of auditory threshold is a
3 upon patient cooperation, what do you mean by 3 subjective test. That's the audiogram, These are
4 that? 4 indirect measures of auditory thresholds, but
5 A. Still and allow placement of external 5 they're not -- that's not their primary purpose.
6 ear canal probes. [Reporter clarification.] Yes, 6 They are either a reflexive response or
7 the patient has to cooperate and allow placement 7 measurement. of audio acoustic emission, which is
8 of the ear canal probes, and they have to hold 8 some cochlear spontaneous activity.
9 still. 9 9. What do you mean by -- I'm sorry, go
10 Q. Okay. But the tests do not require the | 10 ahead.
11 patient to communicate to the person who is ll A. They do not directly correlate with
12 administering the tests whether or not they have 12 auditory thresholds.
13 heard something, correct? 13 Q. Okay. And what do you mean by auditory
14 A. According to —- yeah, according to the 14 thresholds?
15 standard definition of the test, that is correct. 15 A. That's the diagnostic audiogram.
16 Q. Okay. Now, both of these tests are 16 Q. I suppose would a layman's definition
17 used to determine if an ear is functioning 17 of an auditory threshold be the decibel level at
18 properly as you would see with someone who can 18 which someone can or cannot hear?
19 hear, is that right? 19 A. Decibel level at which they respond to
20 A. That's not an accurate statement. 20 specific frequencies.
21 These tests are used to diagnose ear function in 21 Q. Okay. So it's fair to say that these
22 different parts of the ear, They don't say -- it | 22 two tests, the OAE and the acoustic reflex tests,
23 doesn't determine normally. It is a way of 23 do not quantify the degree of hearing loss someone
24 assessing internal and inner ear and auditory 24 may be experiencing; is that right?
Page 11 Page 13
1 reflex arc function. 1 A. To a certain extent, they can quantify.
2 Q. Okay. So the tests are used to 2 Q. Okay.
3 determine whether or not an ear is functioning 3 A. As stated on my report.
4 properly? 4 QO. Okay. Buy they're -- I suppose what do
5 A. You could say that, yes. 3 you mean "to a certain extent, they can quantify"?
6 Q. Okay. And the tests could also show if 6 A. The responses elicited by the acoustic
7 an ear is not functioning properly, is that 7 reflex and the OAE correlate to some extent with
8 correct? 8 auditory thresholds indirectly.
9 A. Correct. 9 Q. But they're not a measure of the full
10 Q. Did you say that is correct? 10 extent of auditory thresholds that someone with
11 A. That is correct. 11 normal hearing would respond to, is that correct?
12 QO. Okay. I'm sorry. Sometimes your 12 A. They're not -- that's not their primary
13 answer is cutting out -- 13 purpose. Their primary purpose is not to
14 A. Function, I guess it depends how you 14 determine auditory thresholds, correct.
15 determine function. Does it mean normal, 15 Q. Moving on in that second paragraph, you
16 dysfunction? 16 say, “The asymmetrical response noted by the
17 Q. Okay. Understood. Now, you mention in | 17 audiologist indicates an asymmetrical hearing loss
18 your report here, and I'm just trying to find it 18 which is greater in the right ear given the lack
19 real quick. Still in that second paragraph there, | 19 of response in lower frequencies." Do you see
20 "The OAE and acoustic reflex tests are not a 20 that sentence?
21 measure of auditory thresholds per se." Do you 21 A. Ido.
22 see that sentence? 22 Q. What do you mean by asymmetrical
23 A. Yes, I do. 23 response?
24 Q. What do you mean by they're not a 24 A. One ear is not the same as the other

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1 ear. Based on this I think the hearing loss on 1 out of both his right and left ear?
2 the right -- it would imply there might be 2 A. Some level, yes.
3 additional hearing loss on the right compared to 3 Q. Okay. But as we talked about earlier,
4 the left. 4 the tests don't quantify the extent to which
5 Q. Then I will go ahead and move on to the 5 Mr. Moore may have some level of hearing loss in
6 last page of your report here. You conclude, 6 either one of his ears, correct?
7 "Thus Mr, Moore does not, in fact, have normal 7 A, They quantify to some extent, I said
8 hearing in both ears." Do you see that sentence? 8 not directly.
9 A. I do. 9 9. Okay. Do you know --
10 Q. Okay. What do you mean by "does not 19 A. Tests are not designed to determine
11 have normal hearing"? ll auditory thresholds. [Reporter clarification.]
12 A. Well, based on the asymmetrical 12 These tests are not designed to -- their primary
13 response and suggestion that one ear -- the right | 13 purpose is not designed to detect auditory
14 ear does not have normal thresholds, it would 14 thresholds.
15 infer that his auditory thresholds are not the 15 QO. Do you know if Mr. Moore has any
16 same and not normal. 16 hearing loss in either ear?
17 Q. So in a normal ear, the auditory 17 A. Based on the diagnostic audiogram, he
18 thresholds would be the same? 18 does.
19 A. Auditory thresholds are the ones that 19 QO. Okay. The subjective test, correct?
20 -- an audiogram, that's a subjective test. These | 20 A. Correct.
21 tests correlate indirectly and somewhat directly 21 Q. Okay. So as you sit here today, you
22 with the auditory thresholds; but one of them 22 aren't able to quantify how much hearing loss
23 requires a very loud stimulus, and the other one 23 Mr. Moore has in either his right or his left ear,
24 measures cochlear function passively with a 24 correct?
Page 15 Page 17
1 correlation that's within 30 -- 15, 20, 30 1 A. Of course not. I didn't test him. The
2 decibels. So it's not a direct correlation. 2 audiologist and the tests quantify his hearing
3 Q. Then in the next sentence you say, "In 3 loss.
4 addition, his acoustic reflexes are not normal as 4 QO. Wow, ultimately the records indicated
5 contralateral reflex is absent for the left ear 3 that further testing was appropriate, and I think
6 and partially present for the right ear." What do 6 you agreed with that in a supplemental report.
7 you mean by "contralateral reflex"? 7 What further testing on Mr, Moore do you believe
8 A. It's very complicated. Acoustic reflex 8 is appropriate?
9 measures the neural arc from the cochlea to the 9 A.  Audiologist's recommendation and Dr.
10 cochlear nerve, the superior olive and then 10 Weinreich's recommendation for at least an ABR or
11 connects indirectly to the muscles in the ear and = 11 auditory brainstem response, as well as an MRI,
12 next to the facial nerves. So you click on one 12 Q. I'm going to go back up to the first
13 ear and you measure. You can measure it on the 13 page of your report here. Beginning of the second
14 same ear. You can measure it on the contralateral | 14 paragraph, you say, “While respecting Dr. Kern's
15 ear and ipsi ear. There's whole courses given on | 15 opinion," and we already addressed the second part
16 the analysis of the acoustic reflex, but his was 16 of that sentence. What do you mean by "respecting
17 not normal. 17 Dr. Kern's opinion"?
18 Q. Okay. Is Mr. Moore completely deaf in 18 A. Just what I said. I respect Dr. Kern's
19 his right ear? 19 opinion.
20 A. I don't know. 20 Q. Okay.
21 Q. Okay. Now, with respect to the results | 21 A. Pretty straightforward. I respect Dr.
22 of the OAE test and the acoustic reflex test, 22 Kern.
23 would you agree that the results of those tests 23 QO. Why is that?
24 show that Mr. Moore is able to hear at some level | 24 I respect Dr. Kern.

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CHARLES 4. WEINGARTEN, M.D.
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1 Q. Why is that? 1 Q. What is a profound hearing loss?
2 A. Why is that? Because I know him, and 2 A. Oh, depends on the definition, 80, 70,
3 he deserves my respect. 3 70-plus decibels, 80-plus decibels as an overall
4 Q. Is he a good doctor? 4 threshold, or a speech reception threshold of 70,
5 A. He is a doctor, yes. 5 80.
6 Q. Do you think he's a good doctor? 6 Q. But as you sit here today, you can't
7 A. As far as I know he is, yes. 7 give me a percentage as far as the amount of
8 Q. Okay. 8 hearing loss he has in his right or his left ear?
9 A. He's a good man. 9 MR. BEASLEY: Objection to form. Asked
10 MR, EMMERT; All right. Luke, I think 19 and answered. Go ahead.
11 that's about all I have, but if you could give me | 11 A. That would require a formula based on a
12 five minutes to look at my notes? 12 disability which is, I think, approved by the
13 MR. BEASLEY: Yeah, no problem. 13 government. I don't have the formula in front of
14 MR, EMMERT; Come back at 9:25, and 14 me. I can calculate it for you. That's not based
15 we'll go from there. 15 on my opinion. That is a formal calculation based
16 MR. BEASLEY: Sounds good. 16 on specific auditory threshold frequencies.
17 (A brief recess was taken.) 17 MR, EMMERT: Okay. That is all I have
18 BY MR. EMMERT: 18 for you.
19 Q. All right. Back on the record. 19 MR. BEASLEY: No questions for me.
20 Doctor, I just had a brief follow-up for you. I 20 THE COURT REPORTER: Signature?
21 asked you a question earlier about whether or not | 21 MR. BEASLEY: Yeah, we'll reserve
22 you were able to quantify the amount of hearing 22 signature,
23 loss that Mr. Moore has in either one of his ears, 23 THE COURT REPORTER: Would you like to
24 his right or his left ear; and you indicated that | 24 order the transcript?
Page 19 Page 21
1 the tests quantify the degree of hearing loss, and) 1 MR. EMMERT: Yep, we will order the
2 I believe you referred to the audiogram. Da you 2 transcript. And since we have summary judgment
3 remember that line of questioning generally? 3 briefing coming up here soon, if we could get it
4 A. Ido. 4 as soon as possible, that would be great.
9 Q. Okay. As you sit here today, do you 3 THE COURT REPORTER: Sure. Would you
6 have an opinion as to the degree of hearing loss 6 like a copy of the transcript?
7 that Mr, Moore has in either one of his ears based | 7 MR. BEASLEY: Yes, regular delivery.
8 upon that audiogram? 8 FURTHER DEPONENT SAITH NOT AT 9:29 A.M.
9 A. Based upon the audiogram and other 9
10 responses and the observation of the audiologist, 10
11 I think additional tests are warranted to get an 11
12 accurate determination of his hearing loss. 12
13 Q. So you can't give me a percentage, 10 13
14 percent, 20 percent, 30 percent, how much hearing | 14
15 loss he has in either ear? 15
16 A. I£ I would, based on the audiogram 16
17 alone, he has a profound loss on the right -- I 17
18 don't have it exactly in front of me -- and a mild | 18
19 loss on the contralateral ear, the other ear. 19
20 Q. Okay. 20
21 A. Again, that's not my opinion. That is 21
22 based on the audiogram. 22
23 Q. Okay. What's a profound hearing loss? 23
24 A. Say again? 24

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CHARLES 4. WEINGARTEN, M.D.

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1 IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
2 BASTERN DIVISION
3 TIMOTHY C. MOORE, M39367, )
)
4 Plaintiff, )
)
5 vs. ) No. 19-cv-3892
)
6 WALTER NICKOLSON, et al., )
)
7 Defendants. )
8
9 This is to certify that I have read the
10 transcript of my deposition taken in the above-
11 entitled cause by Tracy L. Abbott, Certified
12 Shorthand Reporter, on August 19, 2022, and that
13 the foregoing transcript consisting of Pages 1
14 through 23 accurately state the questions asked of
15 me and the answers given by me as they now appear.
16
17
18
Charles 4%. Weingarten, MD
19
No errata sheets submitted (Please initial) :
20 Number of errata sheets submitted (pgs.)
21 Subscribed and sworn to
before me this day
22 of , A.B. 2022.
23
24 Notary Public
Page 23
1 STATE OF ILLINOIS
) Ss.
2 COUNTY OF WINNEBAGO }
3 I, Tracy L. Abbott, Certified Shorthand
4 Reporter, within and for the State of Illinois, do
5 hereby certify:
6 That prior to being examined, the
7 witness in the foregoing proceedings was by me
8 duly sworn to testify to the truth, the whole
9 truth, and nothing but the truth;
10 That said proceedings were taken
li remotely before me at the time and places therein
12 set forth and were taken down by me in shorthand
13 and thereafter transcribed into typewriting under
14 my direction and supervision;
15 I further certify that I am neither
16 counsel for, nor related to, any party to said
1? proceedings, not in anywise interested in the
18 outcome thereof.
19 In witness whereof, T have hereunto
20 subscribed my name.
21 Dated:
22
23
24 Tracy L. Abbott, C.S.R.
License Number 084-003182

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